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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )         2:11-CR-63-JCM-(CWH)
                                                         )
11    JOSEPH RAMIREZ,                                    )
                                                         )
12                           Defendant.                  )

13                 SECOND AMENDED PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on June 21, 2011, defendant JOSEPH RAMIREZ pled guilty to Counts

15    One through Three of a Three-Count Criminal Indictment charging him in Count One with Conspiracy

16    to Commit Trafficking in, Production and Use of Counterfeit Access Devices and Fraudulent

17    Transactions with Access Devices Issued to Other Persons in violation of Title 18, United States Code,

18    Sections 371 and 1029(a)(1) and (5); in Count Two with Fraudulent Transactions with Access Devices

19    Issued to Other Persons in violation of Title 18, United States Code, Section 1029(a)(5); and in Count

20    Three with Trafficking in, Production and Use of Counterfeit Access Devices in violation of Title 18,

21    United States Code, Section 1029(a)(1). Criminal Indictment, ECF No. 1; Plea Memorandum, ECF

22    No. 71; Minutes of Change of Plea Proceedings, ECF No. 69; Preliminary Order of Forfeiture, ECF

23    No. 70; Amended Preliminary Order of Forfeiture, ECF No. 140.

24            This Court finds defendant JOSEPH RAMIREZ agreed to the forfeiture of the property set

25    forth in the Forfeiture Allegations of the Criminal Indictment and Plea Agreement. Criminal

26    Indictment, ECF No. 1; Plea Memorandum, ECF No. 71.
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 1            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of
 2    America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the
 3    Criminal Indictment, the Bill of Particulars, and the Plea Agreement and the offense to which
 4    defendant JOSEPH RAMIREZ pled guilty.
 5            The following assets are subject to forfeiture pursuant to Title 18, United States Code Section
 6    981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18, United States Code, Section
 7    982(a)(2)(B); and Title 21, United States Code, Section 853(p):
 8             1.    Motorola cell phone S/N SJUG5546AF;
 9             2.    Blackberry cell phone IMEI# 358453021785810;
10             3.    Any and all funds in Bank of America account 5010-0002-7032 in the
11                   amount of $4,453.94;
12             4.    $10,940 in United States Currency (seized from Joseph Ramirez);
13             5.    Glock 21, serial number NHP 408 (with 2 magazines);
14             6.    Dragonov rifle, serial number D029-75 (with scope and 2 magazines);
15             7.    Two swords in case, unknown make/model;
16             8.    Ammo can with .308 rounds;
17             9.    2005 Black Harley Davidson Sportster, VIN# 1HD1CGP195K453157;
18             10.   Any and all funds in Bank of America Account No. 11020-11128 in the
19                   amount of $15,035.38;
20             11.   Any and all funds in Bank of America Account No. 5010-0865-1073 in the
21                   amount of $2,897.31;
22             12.   2007 Grey Dodge Ram, 1500 Quad Cab, VIN# 1D7HA18267S266252;
23             13.   Black 1999 RE/MAX International Convention laptop bag;
24             14.   Unitech MSR206u magnetic card reader;
25             15.   Magnetic card reader power cord;
26             16.   Magnetic card reader USB connection cord;

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 1           17.   Magnetic card reader VGA connection cord;
 2           18.   Three Players Club cards;
 3           19.   Package of velcro wire retention straps;
 4           20.   Toshiba Satellite laptop, model number PSL2XU, serial number
 5                 X5110890W;
 6           21.   Laptop power cord;
 7           22.   Several sheets of adhesive label paper;
 8           23.   Nokia cell phone;
 9           24.   Camel cigarette pack containing 17 Players Club cards with
10                 PIN numbers written on back, as follows:
11                 Players Club card with PIN number 1234
12                 Players Club card with PIN number 6280
13                 Players Club card with PIN number 4270
14                 Players Club card with PIN number 2323
15                 Players Club card with PIN number 2222
16                 Players Club card with PIN number 3251
17                 Players Club card with PIN number 1961
18                 Players Club card with PIN number 2210
19                 Players Club card with PIN number 9433
20                 Players Club card with PIN number 1937
21                 Players Club card with PIN number 1110
22                 Players Club card with PIN number 5181
23                 Players Club card with PIN number 0823
24                 Players Club card with PIN number 7777
25                 Players Club card with PIN number 5117
26                 Players Club card with PIN number 1723

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 1                   Players Club card with PIN number 3188;
 2             25.   Disk located in disk drive of Toshiba laptop, identified as MSR 206U 1.
 3                   Demo 2. Programmer's Manual 3. USB Driver; and
 4            26.    An in personam criminal forfeiture money judgment of $863,895.00 in United
 5                   States Currency (“property”).
 6            This Court finds the United States of America is now entitled to, and should, reduce the
 7    aforementioned property to the possession of the United States of America.
 8            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the
 9    United States of America should seize the aforementioned property.
10            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of
11    JOSEPH RAMIREZ in the aforementioned property is forfeited and is vested in the United States of
12    America and shall be safely held by the United States of America until further order of the Court.
13            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America
14    shall publish for at least thirty (30) consecutive days on the official internet government forfeiture
15    website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state
16    the time under the applicable statute when a petition contesting the forfeiture must be filed, and state
17    the name and contact information for the government attorney to be served with the petition, pursuant
18    to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).
19            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed
20    with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.
21            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,
22    shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the
23    following address at the time of filing:
24     ...
25     ...
26     ...

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 1                   Michael A. Humphreys
                     Assistant United States Attorney
 2                   Daniel D. Hollingsworth
                     Assistant United States Attorney
 3                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
 4                   Las Vegas, Nevada 89101.
 5            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
 6    need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
 7    following publication of notice of seizure and intent to administratively forfeit the above-described
 8    property.
 9                   October
              DATED this      16,
                         ______   2012.
                                day of __________________, 2012.
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13                                                 UNITED STATES DISTRICT JUDGE
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